                                UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF KANSAS AT KANSAS CITY

 In re:

 Pinnacle Regional Hospital, Inc.,                       Case No. 20-20219

 Debtor.                                                 Chapter 7




                         NOTICE OF OBJECTION DEADLINE AND
                     OPPORTUNITY FOR NON-EVIDENTIARY HEARING


          PLEASE TAKE NOTICE THAT on September 12, 2022, James A. Overcash, Chapter 7

Trustee (the “Trustee”) of Pinnacle Regional Hospital, Inc., Pinnacle Health Care Systems, Inc.,

Blue Valley Surgical Associates, Rojana Realty Investments, Inc. and Joy’s Majestic Paradise,

Inc. filed the Motion Under Rule 9019 of the Federal Rules of Bankruptcy Procedure to Approve

Proposed Settlement with In2itive, LLC (the “Motion”) in Adversary No. 22-06009 (ECF No. 24).

          PLEASE TAKE FURTHER NOTICE THAT, if you wish to object to the relief requested

in the Motion, you must file your written objection and serve it on the Trustee, the Unsecured

Creditors Committee and the United States Trustee on or before October 3, 2022.

          PLEASE TAKE FURTHER NOTICE THAT, if an objection to the Motion is timely filed,

a non-evidentiary hearing on the Motion will be set for Thursday October 13, 2022 at 1:45 p.m.

(prevailing Central Time) (the “Hearing”).

          PLEASE TAKE FURTHER NOTICE THAT, if no objection to the Motion is filed on or

before October 3, 2022, the Court may grant the relief requested in the Motion without further

notice or hearing.

          Dated this 12th day of September, 2022.




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                                         Respectfully submitted,


                                         STINSON LLP

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                                         COUNSEL FOR THE CHAPTER 7 TRUSTEE




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                                CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on September 12, 2022, the foregoing document was

electronically filed with the court using the CM/ECF system, which sent notification to all parties

of interest participating in the CM/ECF System. Further, I certify that copies of the foregoing

document were forwarded via U.S. Mail, first class, postage prepaid and properly addressed to the

following on September 12, 2022:

 Office of the United States Trustee              Centinel Spine, LLC
 301 North Main Suite 1150                        c/o Moritt Hock & Hamroff LLP
 Wichita, KS 67202                                Moritt Hock & Hamroff
                                                  400 Garden City Plaza
                                                  Garden City, NY 11530

 Amanda M. Wilwert                                Dan Ray Nelson on behalf of Creditor
 Foulston Siefkin, LLP                            Premier Specialty Network, LLC
 9225 Indian Creek Parkway                        300 S. John Q. Hammons Pkwy
 Suite 600                                        Suite 800
 Overland Park, KS 66210                          Springfield, MO 65806




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